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    8                      UNITED STATES DISTRICT COURT
    9                    SOUTHERN DISTRICT OF CALIFORNIA
   10
        IN RE BANK OF AMERICA                    Case No. 3:21-md-02992-GPC-MSB
   11 CALIFORNIA UNEMPLOYMENT

   12 BENEFITS LITIGATION                        ORDER GRANTING MOTION TO
                                                 FILE DOCUMENTS UNDER SEAL
   13
                                                 [Dkt. No. 276.]
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   15
        This Document Relates to All Actions     Judge:      Hon. Gonzalo P. Curiel
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        ORDER GRANTING MOTION TO FILE DOCUMENTS UNDER SEAL        Case No.: 3:21-md-02992-GPC-
                                                                                          MSB
Case 3:21-md-02992-GPC-MSB Document 293 Filed 06/14/24 PageID.3004 Page 2 of 2




    1                                        ORDER
    2         Upon consideration of Plaintiffs’ Motion to File Documents Under Seal, and for
    3 good cause shown, the motion is GRANTED. See Kamakana v. City & Cnty. of

    4 Honolulu, 447 F.3d 1172 (9th Cir. 2006).

    5         It is further ORDERED that Plaintiffs may file under seal (1) portions of
    6 Plaintiffs’ Memorandum of Points and Authorities in Support of Plaintiffs’ Objections

    7 to and Motion to Reverse in Part Magistrate Judge’s April 24, 2024 Discovery Order

    8 that reference material designated by Defendant Bank of America as “Confidential”

    9 pursuant to the Protective Order; and (2) portions of the Supplemental Declaration of

   10 Connie K. Chan in support of Plaintiffs’ Objections and Motion that reference

   11 material designated by Defendant as “Confidential,” including the Index of Exhibits

   12 and Exhibits 24-36.

   13         IT IS SO ORDERED.
   14 Dated: June 14, 2024

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        ORDER GRANTING MOTION TO FILE DOCUMENTS UNDER SEAL          Case No.: 3:21-md-02992-GPC-
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